AO 472 Case     5:06-cr-50110-DEW-MLH
       (Rev. 3/86) Order of Detention Pending Trial             Document 39               Filed 07/18/06              Page 1 of 1 PageID #:
      U.S. D istrict Court                                             80
Western District of Louisiana
 Rob ert H. Shem well, Clerk
        RECEIVED                                UNITED STATES DISTRICT COURT
Date:   07-18-06
By       M . Cassanova
                                                      WESTERN DISTRICT OF LOUISIANA

          UNITED STATES OF AMERICA                                                                   ORDER OF DETENTION PENDING TRIAL
                 V.

                     RAVION SHELLEY                                                              CASE NO.             06-50110-04
                     Defendant


      In accordance w ith the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the detention
of the defendant pending trial in this case.
                                                                  Part I - Findings of Fact

[ ] (1) The defendan t is charged with an offense described in 18 U.S.C . § 3142(f)(1) and has been convicted of a (federal offense) (state or local offense that
        would have been a federal offense if a circumstan ce giving rise to federal jurisdiction had existed) that is
        [ ]     a crime of violence as defined in 18 U.S.C . § 3145(a)(4).
        [ ]     an offense for which the maximum sentence is life imprisonment or death.
        [ ]     an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                                 .*
        [ ]     a felony was comm itted after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C . § 3142(f)(1)(A )(C),
                or comparable state or local offenses.
[ ] (2) The offense described in finding (1) was committed w hile the defendant w as on release pending trial for a federal, state, or local offense.
[ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for the offense described
        in finding (1).
[ ] (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the safety of
        (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.

                                                                   Alternative Findings (A)

[X ] (1) There is probable cause to believe that the defendant has comm itted an offense

          [X ]    for which a maximum term of imprisonment of ten years or more is prescribed in                 The C ontrolled Substances Act                    .
          [ ]     under 18 U .S.C. § 924(c).

[ ] (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure the
        appearance of the defendant as requ ired and the safety of the commun ity.

                                                                   Alternative Findings (B)

[ ] (1) There is a serious risk that the defendant w ill not appear.

[ ] (2) There is a serious risk that the defendant w ill endanger the safety of another person or the community.




                                                    Part II - Written Statement of Reasons for Detention

     I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that

                       Defendant does not contest the government's motion for detention, reserving
                       his right to request a hearing on bond if his circumstances change


                                                          Part III - Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a reasonable opportunity
for private consultation with defense counsel. On order of court of the United States or on request of an attorney for the Government, the person in charge of the
corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

Date:       JULY 18, 2006
